           Case 3:19-cv-05725-BHS-JRC Document 35 Filed 10/07/20 Page 1 of 2




 1

 2

 3

 4

 5
                            UNITED STATES DISTRICT COURT
 6                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
 7
     JOHN GRIFFIN HEADRICK,                          CASE NO. C19-05725-BHS-JRC
 8
                             Petitioner,             ORDER ADOPTING REPORT
 9          v.                                       AND RECOMMENDATION

10   RICHARD R SCOTT,

11                           Respondent.

12

13          This matter comes before the Court on the Report and Recommendation (“R&R”)

14   of the Honorable J. Richard Creatura, United States Magistrate Judge. Dkt. 32. The Court

15   having considered the R&R and the remaining record, and no objections having been

16   filed, does hereby find and order as follows:

17          (1)    The R&R is ADOPTED;

18          (2)    The following motions are DENIED without prejudice as moot:

19                 Petitioner’s motion to supplement the record, Dkt. 21; Petitioner’s motion

20                 for temporary restraining order, Dkt. 22; and Respondent’s motion to

21                 dismiss, Dkt. 24; and

22

23
     ORDER - 1
24
           Case 3:19-cv-05725-BHS-JRC Document 35 Filed 10/07/20 Page 2 of 2




 1         (3)   A certificate of appealability is DENIED.

 2         Dated this 7th day of October, 2020.

 3

 4

 5
                                             A
                                             BENJAMIN H. SETTLE
                                             United States District Judge

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23
     ORDER - 2
24
